    Case 3:21-bk-31172-SHB           Doc 4-1 Filed 07/07/21 Entered 07/07/21 10:32:29                Desc
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE

In Re:                                                   Case Number: 3:21−bk−31172−SHB
Love All, Inc.                                           Chapter: 7

Debtor(s)


                    NOTICE OF ADDITIONAL DOCUMENTS TO BE FILED
      The debtor(s) filed a petition commencing this bankruptcy case on 7/7/21, but did not file the following
documents required by 11 U.S.C. § 521(a)(1) and (b), 11 U.S.C. § 1321, or Federal Rules of Bankruptcy Procedure
1007 and 3015:
            Certificate of Completion of Credit Counseling (See Part 5 of Petition, Form 101)
            Your Statement About Your Social Security Numbers (Form 121)
            Statement Regarding Payment Advices (Local Form 1007.1)
            Schedule A/B: Property (Form 106A/B or 206A/B)
            Schedule C: The Property You Claim as Exempt (Form 106C)
            Schedule D: Creditors Who Hold Claims Secured By Property (Form 106D or 206D)
            Schedule E/F: Creditors Who Have Unsecured Claims (Form 106E/F or 206E/F)
            Schedule G: Executory Contracts and Unexpired Leases (Form 106G or 206G)
            Schedule H: Your Codebtors (Form 106H or 206H)
            Schedule I: Your Income (Form 106I)
            Schedule J: Your Expenses (Form 106J and, if applicable, 106J−2)
            A Summary of Your Assets and Liabilities and Certain Statistical Information (individuals)
            (Form 106Sum)
            A Summary of Your Assets and Liabilities (non−individuals) (Form 206Sum)
            Declaration About an Individual Debtor's Schedules (Form 106Dec)
            Declaration Under Penalty of Perjury for Non−Individual Debtors (Form 202)
            Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Form 107)
            Statement of Your Financial Affairs (non−individuals) (Form 207)
            Chapter 7 Statement of Your Current Monthly Income and Means−Test Calculation
            (Form 122A−1)
            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
            (Form 122C−1)
            Chapter 13 Plan (chapter 13 case only)
            Chapter 11 Statement of Your Current Monthly Income (Form 122B)
            For Chapter 11 Cases: The List of Creditors Who Have the 20 Largest Unsecured Claims
            Against You Who Are Not Insiders (Form 104 or 204)
            List of Creditors a/k/a Master Address List or Matrix (see Local Bankruptcy Rule 1007−2)
            Debtor Electronic Noticing Election (DeBN) (Local Form 9036.1)
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As set forth in Federal Rules of Bankruptcy Procedure 1007 and 3015(b), the debtor must file the listed documents
with the petition or, as to certain documents, within fourteen days afterwards. The debtor's failure to timely file all of
the listed documents may be cause for dismissal of the bankruptcy case. See 11 U.S.C. §§ 521(i), 707(a)(3), 1112(b)
and (e), or § 1307(c)(3) and (9).


Date: 7/7/21                                                   William T. Magill
                                                               Clerk of the Bankruptcy Court

                                                               By: MDT
                                                               Deputy Clerk
